                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CRIMINAL DOCKET NO. 5:13CR87-1-RLV



UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )                             ORDER
                                )
KIANTA MARTESE DAVIS            )
_______________________________ )




        Leave of Court is hereby granted for the dismissal without prejudice of the

Bill of Indictment in the above-captioned matter as to KIANTA MARTESE DAVIS

only.

        The Clerk is directed to certify copies of this Order to the U.S. Probation Office,

U.S. Marshall Service, and the United States Attorney's Office.



                                                   Signed: March 6, 2014




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